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 7

 8                               UNITED STATES DISTRICT COURT
 9                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   United States of America,                    ) Case No.: 2:01-cr-0512-MCE
                                                  )
12                 Plaintiff,                     ) ORDER
                                                  )
13          vs.                                   )
                                                  ) JUDGE: Hon. Morrison C. England, Jr.
14   Shawna Whiteaker,                            )
                                                  )
15                 Defendant                      )
                                                  )
16                                                )
                                                  )
17                                                )
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                                               ORDER
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23          Based on the Stipulation of the parties and the U.S. Probation Office, and GOOD

24   CAUSE APPEARING, IT IS HEREBY ORDERED that the condition of defendant’s

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 1   probation requiring home detention is hereby eliminated. It is further ordered defendant’s

 2   period of probation is hereby terminated.
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     IT IS SO ORDERED
 4
     DATED: January 4, 2007
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                                                 __________________________________
 6                                               MORRISON C. ENGLAND, JR
                                                 UNITED STATES DISTRICT JUDGE
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